                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

UNITED STATES OF AMERICA,
             Plaintiff,                            No. 05-4124-DEO
v.                                          ORDER ADOPTING REPORT AND
                                           RECOMMENDATION ON PETITION
BRENT KELEHER,
                                          TO REVOKE SUPERVISED RELEASE
             Defendant.
                          ____________________

      On December 18, 2012, United States Magistrate Judge

Leonard T. Strand held a revocation hearing concerning the

First     Supplemented     and     Substituted       Petition       to   Revoke

Supervised Release (Docket No. 95).                Following the hearing,

Judge Strand issued a Report and Recommendation1 (R&R, Docket

No. 97, 12/19/2012) to this Court.               Objections to the R&R are

to be filed by January 2, 2013.           On today’s date, December 28,

2012, the Court was notified by United States Probation that

a bed space has become available at the Synergy Treatment

Facility     in    Cherokee,      Iowa,   on     December    31,    2012;        and

Defendant is expected to report by 10:00 a.m. on that date in

order to secure the available space.                Given that these beds

are not readily available, the Court contacted counsel for the

parties (by email) to seek waiver of the objection deadline.


      1
       Although the entire contents of the Report and
Recommendation will not be repeated, it is hereby referenced
and incorporated as if fully set out herein.


     Case 5:05-cr-04124-DEO-LTS    Document 98    Filed 12/28/12   Page 1 of 4
Both Defendant’s counsel and Government’s counsel indicated no

objection.

    Judge Strand’s R&R states in part:

          At the hearing, Keleher admitted to all
          violations alleged in the supplemental and
          substituted petition. Accordingly, I find
          by a preponderance of the evidence that
          Keleher violated the terms and conditions
          of his supervised release.

          . . .

          I have given careful consideration to the
          factors set forth in 18 U.S.C. § 3553(a),
          and hereby recommend that Keleher’s TSR be
          revoked and that he be sentenced to time
          served. I further recommend that the terms
          and Keleher’s TSR be re-imposed and that
          they be modified to include:

          (a)   Inpatient treatment for substance
          abuse at Synergy Center in Cherokee, Iowa,
          upon the next available opening.     It is
          anticipated an opening will be available on
          January 7, 2013, if not sooner.

          (b)    Following treatment, Keleher must
          reside in a Residential Reentry Center
          (RRC) for a period of up to 120 days. He
          must report to the RRC at a time and date
          to be determined by the Bureau of Prisons,
          the RRC and the U.S. Probation Office.

          (c) While placement is pending at a RRC,
          Keleher will be placed on home detention
          with electronic monitoring.

          . . .

          In light of the foregoing, I find that
          revocation with a sentence of time served,
          along with the modifications described
          above, will further the goals of deterrence



   Case 5:05-cr-04124-DEO-LTS   Document 98   Filed 12/28/12   Page 2 of 4
          and    incapacitation,     reflects     the
          seriousness of Keleher’s conduct, and
          provides just punishment for such conduct.
          Such a sentence is “sufficient, but not
          greater than necessary, to comply with” the
          sentence’s purposes as set forth in §
          3553(a)(2).

(R&R, Docket No. 97).

    As mentioned, the Court has been notified of an available

bed space for Mr. Keleher at the Synergy Treatment Center in

Cherokee, Iowa, and it is expected that Mr. Keleher report to

that facility by 10:00 a.m. on December 31, 2012, in order to

secure the available space.

    Accordingly, the Court hereby ADOPTS the Report and

Recommendation in its entirety but adds that Mr. Keleher shall

not be released from custody until Monday, December 31, 2012,

at 8:00 a.m.2     For the reasons set forth therein, the Court

finds by a preponderance of the evidence that Keleher violated

the terms and conditions of his supervised release.                          The

Government’s Petition to Revoke Supervised Release is GRANTED.

Defendant Keleher’s supervised release is hereby revoked, and

he is sentenced to a term of imprisonment of time served and

is ordered to be released on December 31, 2012, at 8:00 a.m.,



    2
     The Court has been notified that Defendant Keleher’s
mother will secure Mr. Keleher from the Woodbury County Jail
for transport to the Synergy Center in Cherokee, Iowa, by
10:00 a.m.


   Case 5:05-cr-04124-DEO-LTS   Document 98   Filed 12/28/12   Page 3 of 4
and his term of supervised release be re-imposed and modified

to include:

          (a)   Inpatient treatment for substance
          abuse at Synergy Center in Cherokee, Iowa,
          upon the next available opening.     It is
          anticipated an opening will be available on
          January 7, 2013, if not sooner.

          (b)    Following treatment, Keleher must
          reside in a Residential Reentry Center
          (RRC) for a period of up to 120 days. He
          must report to the RRC at a time and date
          to be determined by the Bureau of Prisons,
          the RRC and the U.S. Probation Office.

          (c) While placement is pending at a RRC,
          Keleher will be placed on home detention
          with electronic monitoring.

    IT IS SO ORDERED this 28th day of December, 2012.


                                  __________________________________
                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




   Case 5:05-cr-04124-DEO-LTS   Document 98   Filed 12/28/12   Page 4 of 4
